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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

               Plaintiff,
                                                Case No. 1:20-cv-03590-JEB
          v.

META PLATFORMS, INC.,

               Defendant.




 Declaration of Daniel Matheson in Support of Plaintiff Federal Trade Commission’s
    Opposition to Defendant Meta Platforms, Inc.’s Motion to Compel Answer to
                                Interrogatory No. 2




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I, Daniel Matheson, declare as follows:

1.     I am Chief Trial Counsel of the Federal Trade Commission (“FTC” or “Commission”)

       Bureau of Competition. I am serving as the FTC’s lead trial counsel in FTC v. Meta

       Platforms, Inc., No. 1:20-cv-03590-JEB (D.D.C.). I am admitted to practice in the United

       States District Court for the District of Columbia.

2.     I make this declaration in support of Plaintiff Federal Trade Commission’s Opposition to

       Defendant Meta Platforms, Inc.’s Motion to Compel Answer to Interrogatory No. 2 (ECF

       No. 253).

3.     No later than May 2022, the FTC’s counsel proposed to Meta’s counsel that the parties

       should jointly seek resolution from the Court regarding Meta’s assertion that Joint

       Scheduling Order ¶ 16 does not apply to materials created prior to the FTC’s Complaint in

       this litigation. Meta refused to agree to the FTC’s proposals to jointly approach the Court.

       For example, on May 26, 2022 the FTC proposed to Meta that the parties should include

       the dispute over the issue in the parties’ May 31, 2022 Joint Status Report. On May 29,

       2022 Meta insisted that the dispute was not ripe and should be withdrawn from the Joint

       Status Report.

4.     Attached as Exhibit 1 is a true and correct copy of the May 12, 2022 Letter from Daniel

       Matheson (FTC Counsel) to Kevin Huff (Meta Counsel).

5.     Attached as Exhibit 2 is a true and correct copy of the April 27, 2022 Letter from Daniel

       Matheson (FTC Counsel) to Kevin Huff (Meta Counsel).

6.     On May 13, 2022, FTC’s counsel again explained to Meta’s counsel that “These materials

       [related to Meta’s Interrogatory No. 2] are exempted from discovery by Paragraph 16 of

       the Scheduling Order and subject to a number of applicable privileges, including




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     deliberative process.” Exhibit 21 is a true and correct copy of the May 13, 2022 Letter

     from Daniel Matheson (FTC Counsel) to Kevin Huff (Meta Counsel) memorializing the

     FTC’s position.

7.   On August 22, 2022, FTC’s counsel again explained to Meta’s counsel that “The FTC

     made it clear nearly four months ago that materials exchanged solely among and between

     FTC employees are not subject to discovery, as it is foreclosed by Paragraph 16 of the

     Court’s Scheduling Order, ECF No. 103 (March 3, 2022). We have repeatedly expressed

     our willingness to clarify this issue with the Court, and each time Meta has refused to seek

     clarity.” Exhibit 22 is a true and correct copy of the August 22, 2022 Letter from Daniel

     Matheson (FTC Counsel) to Kevin Huff (Meta Counsel) memorializing this position.

8.   Again, on September 27, 2022, FTC’s counsel explained to Meta’s counsel that Meta’s

     Interrogatory No. 2 “seeks discovery into materials which Meta has already agreed “shall

     not be the subject of discovery” pursuant to Paragraph 16 of the Joint Scheduling Order,

     ECF 103.” The FTC’s counsel further explained that “[t]he FTC has repeatedly attempted

     to seek the Court’s guidance on this issue – and if Meta seriously contested the plain

     language of the Joint Scheduling Order, the parties should have easily agreed to do so.

     Instead, Meta has at every juncture prevented the FTC from asking the Court to provide a

     ruling regarding the FTC’s clear (and oft-repeated) interpretation of the Joint Scheduling

     Order.” The FTC’s counsel thus proposed: “The FTC’s position is that the Court would

     benefit from full briefing on this issue. The FTC suggests that the parties propose to the

     Court a sensible briefing schedule and page limits. We are available to meet and confer in

     advance of the September 30 call to the Court to reach agreement on such a schedule and

     limits.” Exhibit 23 is a true and correct copy of the September 27, 2022 Letter from Daniel




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      Matheson (FTC Counsel) to Kevin Huff (Meta Counsel) memorializing this position.

      Defendant Meta again subsequently declined to bring this issue to the Court’s attention at

      this time.

9.    Defendant Meta has taken 16 hours of nonparty depositions to date (including nonparty

      witnesses that were originally noticed by the FTC). During deposition of




10.   Attached as Exhibit 3 is a true and correct copy of the court’s order from FTC v. Meta

      Platforms, Inc. (“Meta/Within”), No. 22-4325, ECF No. 98-1 (N.D. Cal. Sept. 30, 2022).

11.   Attached as Exhibit 4 is a true and correct copy of the court’s order from U.S. v. National

      Cinemedia, Inc. (“Cinemedia”) No. 14-8732, ECF No. 50 (S.D.N.Y. Feb. 5, 2015).

12.   Attached as Exhibit 5 is a true and correct copy of the court’s order from United States v.

      Apple Inc., No. 12-2826, No. 125 (S.D.N.Y. Sept. 14, 2012).

13.   Attached as Exhibit 6 is a true and correct copy of excerpts from the

                                          with testimony not cited redacted. This deposition

      testimony has been designated Confidential or Highly Confidential pursuant to the

      Protective Order.

14.   Attached as Exhibit 7 is a true and correct copy of FB_FTC_CID_05998976 with

      portions highlighted.    This document has been designated Confidential or Highly

      Confidential pursuant to the Protective Order.

15.   Attached as Exhibit 8 is a true and correct copy of FTC-META-003699968 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.




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16.   Attached as Exhibit 9 is a true and correct copy of FB_FTC_CID_04240223 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.

17.   Attached as Exhibit 10 is a true and correct copy of FB_FTC_CID_08956898 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.

18.   Attached as Exhibit 11 is a true and correct copy of FB_FTC_CID_06000903 with

      portions highlighted.    This document has been designated Confidential or Highly

      Confidential pursuant to the Protective Order.

19.   Attached as Exhibit 12 is a true and correct copy of FB_FTC_CID_06148711 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.

20.   Attached as Exhibit 13 is a true and correct copy of FB_FTC_CID_06085791 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.

21.   Attached as Exhibit 14 is a true and correct copy of FB_FTC_CID_03703708 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.

22.   Attached as Exhibit 15 is a true and correct copy of FB_FTC_CID_04336573 with portions

      highlighted. This document has been designated Confidential or Highly Confidential

      pursuant to the Protective Order.




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23.    Attached as Exhibit 16 is a true and correct copy of FB_FTC_CID_02534601 with portions

       highlighted. This document has been designated Confidential or Highly Confidential

       pursuant to the Protective Order.

24.    Attached as Exhibit 17 is a true and correct copy of FB_FTC_CID_05139523 with

       portions highlighted.     This document has been designated Confidential or Highly

       Confidential pursuant to the Protective Order.

25.    Attached as Exhibit 18 is a true and correct copy of SCO_00000282. This document has

       been designated Confidential or Highly Confidential pursuant to the Protective Order.

26.    Attached as Exhibit 19 is a true and correct copy of FB_FTC_CID_10650595. This

       document has been designated Confidential or Highly Confidential pursuant to the

       Protective Order.

27.    Attached as Exhibit 20 is a true and correct copy of excerpts

                                     with testimony not cited redacted. This deposition testimony

       has been designated Confidential or Highly Confidential pursuant to the Protective Order.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 22nd day of March, 2023, in Arlington, Virginia.


                                                      Respectfully submitted,



                                                      /s/ Daniel Matheson

                                                          Daniel Matheson (D.C. Bar 502490)




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